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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
              Plaintiff,                        )
                                                )
v.                                              )
                                                )   No. S1-4:16CR00159 AGF
                                                )
LOREN ALLEN COPP,                               )
a/k/a “Sensei,”                                 )
                                                )
              Defendant.                        )

             GOVERNMENT’S MOTION FOR A SHOW CAUSE HEARING

       COMES NOW the United States of America, by and through its attorneys, Jeffrey B.

Jensen, United States Attorney for the Eastern District of Missouri, and Jennifer A. Winfield,

Assistant United States Attorney for said District, and hereby moves for a hearing to require

defendant Loren Copp to show cause as to why the Court should not accept the legal elements

for the offenses charged in the superseding indictment that have been submitted by the

government in this matter. In support of its motion, the government states as follows:

           1. On March 29, 2017, a federal grand jury filed a superseding indictment on

               defendant Loren Copp (“Copp”) on Counts One and Two: Production of Child

               Pornography in violation of Title 18 U.S.C. Section 2252(a); Count Three:

               Attempted Production of Child Pornography in violation of Title 18 U.S.C.

               Section 2252(a); Count Four: Possession of Child Pornography in violation of

               Title 18 U.S.C. Section 2252(a)(5)(B); Counts Five and Six: Use of Interstate

               Facilities to Persuade, Induce, Entice, or Coerce a Minor to Engage in Sexual


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           Activity in violation of Title 18 U.S.C. Section 2422 and Counts Seven, Eight and

           Nine: Use of Interstate Facilities to Transmit Information with the Intent to

           Entice, Solicit or Encourage a Minor to Engage in Sexual Activity in violation of

           Title 18 U.S.C. Section 2425.

        2. Defendant Copp entered a not guilty plea, waived a jury trial and from April 11,

           2018 to April 24, 2018, this Court conducted a bench trial.

        3. Thereafter on May 14, 2018, this Court issued an order directing the government

           to file a memorandum by May 21, 2018, outlining the legal elements for each

           charge listed in the superseding indictment with supporting authority. (Doc. 208).

        4. The Court Order also directed that following the government’s filing of the legal

           elements and supporting authority, defendant Copp would have seven (7) days in

           which to respond.

        5. In response to this Court’s order, on May 21, 2018, the government submitted a

           memorandum outlining the legal elements for each offense charged in the

           superseding indictment (Doc. 209).

        6. On May 21, 2018, the government’s memorandum was filed electronically with

           the Clerk of the Court and served by way of this Court's Electronic Notification

           System upon all counsel of record.

        7. The aforementioned filing was also sent via email to the St. Charles County Adult

           Detention Center, 301 N. Second Street, St. Charles, MO 63301, and hand

           delivered to defendant Copp.




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           8. Although defendant Copp had (7) days in which to respond to the government’s

              filing regarding the legal elements of the offenses charged in the superseding

              indictment, to date Copp has failed to file a response in this matter.

       Therefore, the government hereby moves for a hearing in which defendant Copp will be

required to show cause as to why the proposed legal elements of the offenses charged in the

superseding indictment submitted by the government should not be accepted by this Court.

                                             Respectfully submitted,
                                             JEFFREY B. JENSEN
                                             United States Attorney

                                             s/ Jennifer A. Winfield
                                             JENNIFER A. WINFIELD, 53350MO
                                             Assistant United States Attorney
                                             111 S. 10th Street, Rm. 20.333
                                             St. Louis, Missouri 63102
                                             (314) 539-2200


                                CERTIFICATE OF SERVICE
       I hereby certify that on June 19, 2018, the attached was filed electronically with the Clerk
of the Court and served by way of this Court's Electronic Notification System upon all counsel of
record, and mailed to Loren Copp at the St. Charles County Adult Detention Center, 301 N.
Second Street, St. Charles, MO 63301.



                                             s/ Jennifer A. Winfield
                                             JENNIFER A. WINFIELD, 53350MO
                                             Assistant United States Attorney




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